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                                       December 5, 2023

Chris Wolpert, Clerk
United States Court of Appeals for the Tenth Circuit
The Byron R. White United States Courthouse
1823 Stout Street
Denver, CO 80257


Re: (Fort, et al v. Grisham, et al) (USDC Case Number 23cv773 DHU-LF and USCA Case Number 23-
2167)

Dear Mr. Wolpert,

      Please be advised that the record on appeal in the above referenced matter is now
complete.

       ( )    A transcript order form has been filed by the appellant stating that a transcript is
              not necessary for this appeal.

       ( )    A transcript order form has been filed by appellant stating that the necessary
              transcript is already on file in the United States District Court.

       (X)    The transcripts which were ordered are now on file with the United States
              District Court.

                                                       Sincerely,
                                                       Mitchell R. Elfers
                                                       Clerk of Court

                                                              /s/

                                                       By: Amy Padilla

   cc: Counsel of Record
